Case 1:24-cv-00648-AA   Document 23-66   Filed 06/20/24   Page 1 of 3




                        EXHIBIT 72
           Case 1:24-cv-00648-AA            Document 23-66        Filed 06/20/24       Page 2 of 3       EXHIBIT72




                                            [Logo: French Republic]
[Logo:] Academie de Paris [Paris Academy]
ACADEMIC REGION OF ILE-DE-FRANCE

NATIONAL MINISTRY OF EDUCATION
MINISTRY OF HIGHER EDUCATION,
RESEARCH, AND INNOVATION
[Logo: French Republic]
                                                                  Mr. Luc Richard

Ecole a aires ouvertes [Open-air school]
16 rue du Renard                                                  in
75004 Paris
Phone: 01 48 87 72 93
                                                                  Paris, May 23, 2024
email: ce.0751005k@ac-paris.fr
(Website: https://ec-16-renard.scola.ac-paris.fr/)

SCHOOL BOARD OF          Subject: Departure from School of Eva Paris
THE PARIS ACADEMY

 1t TEACHING:
                         I, the undersigned, Luc Richard, principal of the Ecole Renard, do hereby
 12 Bd d'lndochine       certify that Eva Paris attended the CM1-grade class here at our school from
 75019 Paris             September until the April vacation.
 Phone: 01 44 62 40 24
 Fax:   01 44 62 40 10
                         Eva really enjoyed attending school and fit in very well with her class.
 1t DISTRICT 1-2-4
 Louvre:                 She received instruction through the CHAM program in violin and orchestra.
 11 rue d'Argenteuil     CHAM is a 4-year program (from the levels CE1 to CM2) in which students
 75001 Paris
 Phone: 01 44 62 41 23
                         follow a conservatory curriculum during school hours. At the end of each year,
                         they give a concert for the parents, which is a chance to show the results of
                         their efforts.
                         The school is located in the heart of Paris and the students also benefit from
                         numerous athletic and cultural activities.
                         On April 22, Mr. Paris explained that Ms. Brown had returned to the United
                         States with her daughter despite the fact that the French court order had
                         granted custody to her father during the school year.
                         The teaching staff and I had met with Ms. Brown just before the [spring]
                         vacation. She wished to be updated on Eva's progress in school and gave no
                         indication of this departure.
                         I fear that this departure in the middle of the year will be a detriment to Eva's
                         schooling.
                         Sincerely yours,
                         Luc Richard          [Stamp:] 04021 - ELEMENTARY SCHOOL
                         [Signature]                        16 Rue du Renard
                                                               75004 PARIS
                                                          Phone: 01 48 87 72 93




                                  EXHIBIT 72 - PAGE 1 OF 2
                       Case 1:24-cv-00648-AA                      Document 23-66                         Filed 06/20/24                  Page 3 of 3
                                                                     II.II
                                                                     Liberti • Egalite • Fraurnitl
                                                                     REPUBLIQUE FRAN<;AISE


                /If'


  md:@

~~~t'illl:



  ...
  MJNJ.\TBrn
  DEL'tntl{"'ATION NATIO.NAJ..F-.
  MINISr!!RE                            ,
  P,~~~~=wrsurSnEUR, ;
  Ef OE L'lNNOVATION                    !


  ~



                                                                                                         M. Luc Richard

      .                                 i
     Ecole aaires ouvertes                                                                               a
     16 rue du Renard I
     75004Paris              i
     Tel: 014887 72 gj
                             '                                                                           Paris, le 23/05/24
     Col.Jrriel: ce.075100~k@ac-paris.fr
     (Site internet: https://~-16-renard.scola.ac-paris.frn




                                            Objet : descolarisation d'Eva Paris
     RECTORAT
     DE L'ACADEMIE
     DE PARIS
                                            Je, soussigne Luc Richard, direicteur de l'ecole Renard atteste qu'Eva Paris a ete scolarisee de septembre
     ,: ENSEJGNEMENT
        SCOLAIRE;
                                            aux vacances d'avril dans notre ecole en CM1.
     12 Bd d'lndochina
     75019 Paris                            Elle profitait pleinement de sa scolarite et etait tres bien integree dans sa classe.
     Tel: 01446240 24
     Fax:0144624010
                                    I       Elle beneficiait notamment d'un enseignement musical CHAM en violon et orchestre. La CHAM est un
     " CIRCONSCRIPTION 1~2-4
     Louvro:            '
                                            dispositif sur 4 ans (du CE1 au CM2) ou les eleves suivent le cursus conservatoire sur le temps scolaire. A
     11 rue d'Argenteuil                    la fin de chaque annee, ifs donnenl un concert devant les parents qui est l'occasion de montrer
     75001 Paris •
     nl:0144624123
                                            l'aboutissement de leurs efforts.

                                            L'ecole etant situee·au centre de Paris. les eleves profitent egalement de nombreux projets sportifs et
                                            culturels.                                                                                            •

                                            Le 22 avril, M. Paris m'a explique que Mme Brown etait repartie aux Etats-Unis avec sa fille afars que le
                                            jugement fran9ais accordait le droit de garde au pere sur la periode scolaire.

                                            L'enseignante et moi-meme avians rencontre Mme Brown juste avant les vacances. Elle souhaitait avoir des
                                            informations sur la scolarite d'Eva et n'avait nullement evoque ce depart.

                                            Je crains que ce depart en cours d'annee ne soit prejudiciable ala scolarite d'Eva.
                                                                                                     0
                                            Bien cordialement,                                       'S?'o<?
                                                                                                                7
                                                                                                                  - S;
                                            Luc Richard                                                         76' CO
                                                                                                                   ')'(/, ~~- .
                                                                                                         l'fj     ,>$0, 0 (1, ~t...r::.
                                                                                                             1/_- 0 0.-, (1 h <...'ft;.t:-
                                                                                                                  7    "f:)
                                                                                                                               1
                                                                                                                                   8   'IV
                                                                                                                   ·<1a.a;l-?1;c1;-C1 ~~,;',.
                                                                                                                           ,,.><          '"'
                                                                                                                                ·..9,3



                                                           EXHIBIT 72 - PAGE 2 OF 2
